         Case 1:21-cv-00806-BAH Document 83 Filed 07/29/24 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 PAMELA GOODWIN, et al.,

        Plaintiffs,

        v.                                          Civil Action No. 1:21-cv-00806-BAH

 DISTRICT OF COLUMBIA, et al.,

        Defendants.


                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants District of Columbia (the District), Peter Newsham, Robert Glover, Andrew

Horos, Carlos Mejia, James Crisman, and Steven Quarles move for summary judgment under

Federal Rule of Civil Procedure 56. A memorandum of points and authorities, statement of

undisputed material facts, and proposed order are attached. Because this Motion is dispositive,

Defendants have not sought Plaintiffs’ consent. See LCvR 7(m).

Date: July 29, 2024.                               Respectfully submitted,

                                                   BRIAN L. SCHWALB
                                                   Attorney General for the District of Columbia

                                                   STEPHANIE E. LITOS
                                                   Deputy Attorney General
                                                   Civil Litigation Division

                                                   /s/ Matthew R. Blecher
                                                   MATTHEW R. BLECHER [1012957]
                                                   Chief, Civil Litigation Division, Equity Section

                                                   /s/ Honey Morton
                                                   HONEY MORTION [1019878]
                                                   Assistant Chief, Equity Section

                                                   /s/ Richard P. Sobiecki
                                                   RICHARD P. SOBIECKI [500163]
Case 1:21-cv-00806-BAH Document 83 Filed 07/29/24 Page 2 of 2




                                  GREGORY KETCHAM-COLWILL [1632660]
                                  AMANDA C. PESCOVITZ [1735780]
                                  MARCUS D. IRELAND [90005124]
                                  Assistant Attorneys General
                                  Civil Litigation Division
                                  400 6th Street, NW
                                  Washington, D.C. 20001
                                  Phone: (202) 805-7512
                                  Email: richard.sobiecki@dc.gov

                                  Counsel for Defendants




                              2
